     Case 1:09-cr-00331-RJA-HBS     Document 702   Filed 12/21/12    Page 1 of 30




UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK



UNITED STATES OF AMERICA
                                                        DECISION AND ORDER
                                                             09-CR-331A
             v.


HECTOR RODRIGUEZ,

                                  Defendant.


I.     INTRODUCTION

       Pending before the Court is a motion (Dkt. No. 671) by defendant Hector

Rodriguez for release on reasonable bail conditions. Counting both state and

federal custody, defendant has been in continuous custody on charges still

pending against him since October 1, 2009. Since then, defendant’s drug

charges were transferred to federal court by way of criminal complaint (10-MJ-6);

presented to a grand jury and filed as an indictment in a separate case (10-CR-

189); incorporated into a Second Superseding Indictment in this case that made

defendant part of an alleged racketeering enterprise and conspiracy; and then

carried over into two additional superseding indictments that added a firearm

charge and two overt acts relating to the racketeering conspiracy.

       Defendant argues for release on the basis that, after 38 months, five

indictments in this case, and numerous reschedulings to accommodate waves of

added defendants, the Government still has not even completed discovery.
      Case 1:09-cr-00331-RJA-HBS    Document 702    Filed 12/21/12   Page 2 of 30




According to defendant, the Government’s failure to tie up all loose ends with

discovery means that additional motion practice may yet be necessary;

combining that possible need with hearings scheduled in February to resolve

numerous other pending motions, defendant almost certainly will not see a trial

anytime in the near future. Under these circumstances, defendant argues that

further pretrial detention would be punitive and would constitute a due-process

violation. The Government opposes release, stressing that much of the delay in

this case occurred from defense requests for extensions of time. The

Government also emphasizes that due-process analysis follows no bright-line

rules as to when detention becomes excessive.

        The Court held oral argument on December 14, 2012. For the reasons

below, the Court grants the motion but stays any release for 30 days in

anticipation of further proceedings before Judge Arcara, the presiding trial judge

in this case.

II.     BACKGROUND

        A.      Original Charges Against Defendant

        Across a number of proceedings and accusatory instruments dating back

to March 2010, the Government has accused defendant of drug activity, firearm

possession, and gang-based racketeering related to his membership in a street

gang called the 10th Street Gang.




                                         2
   Case 1:09-cr-00331-RJA-HBS      Document 702     Filed 12/21/12   Page 3 of 30




      The alleged events connecting defendant to the present case began with

his state arrest in October 2009. At that time, local law enforcement agents and

confidential informants working with them were investigating defendant for gang-

related drug activity observed at two different houses in the City of Buffalo. On

October 1, 2009, local law enforcement agents arrested defendant after

observing him with cocaine while in his car. The agents charged defendant under

state law with Criminal Possession of a Controlled Substance with Intent to Sell

and Criminal Use of Drug Paraphernalia with Packing Material.

      By the spring of 2010, state and federal prosecutors decided not to

prosecute defendant at the state level but rather at the federal level. On February

5, 2010, the Court (Schroeder, M.J.) signed a criminal complaint (10-MJ-6) in

which the Government accused defendant of drug possession and drug

conspiracy in violation of 21 U.S.C. § 841(a) and 21 U.S.C. § 846. During

proceedings on March 29, 2010, defendant waived his right to a detention

hearing at that time because he was serving a state parole sentence but reserved

his right to revisit detention in the future. On June 29, 2010, the Government filed

a two-count indictment (10-CR-189) that contained the same drug-possession

and drug-conspiracy charges as the prior complaint. At the conclusion of a

detention hearing on August 24, 2010, Magistrate Judge Schroeder ordered

defendant detained. On August 26, 2010, Magistrate Judge Schroeder issued a

formal detention order in which he found defendant to be a flight risk and a

                                         3
   Case 1:09-cr-00331-RJA-HBS       Document 702     Filed 12/21/12   Page 4 of 30




danger to the community. Magistrate Judge Schroeder took the time in his

detention order to set forth the details of defendant’s lengthy history of criminal

conduct and parole violations:

      In January of 2008, he was charged with criminal possession of a
      controlled substance, a Class B Felony, as well as a Class A
      misdemeanor and a Class B misdemeanor, wherein he was
      convicted by reason of his plea of guilty to criminal possession of a
      controlled substance, a narcotic drug, a Class B felony, and
      sentenced to one year. The defendant was allowed to be released
      and placed on parole, but as indicated in the Pretrial Services
      Report, in November of 2008, the very same year in which he
      entered his plea, his plea having been entered in August of that year,
      he was found to have been in violation of his parole terms. As a
      result, he was required to serve out his sentence. Then,
      notwithstanding his having been convicted and released on that
      January 2008 charge, in April of 2008, he was arrested and charged
      with criminal possession of a controlled substance in the 3rd degree
      with intent to sell, a Class B felony, as well as criminal possession of
      a controlled substance, a narcotic drug, a Class B felony, as well as
      a couple of misdemeanors for possession of controlled substances.
      Once again in August of 2008, the defendant pled guilty to attempted
      criminal possession of a controlled substance of the 5th degree, that
      is, cocaine of 500 mg or more, a Class E felony, and in September of
      2008, he was sentenced to one year of imprisonment and then also
      one year of supervised release after completion of that sentence.
      Those charges occurred while the defendant was released on bail in
      the January 2008 case, which indicates his failure to obey or abide
      by the terms and conditions of release that had been imposed on
      him in the first case of January 2008. In May of 2008, the defendant
      was charged with criminal possession of a controlled substance in
      the 5th degree, a Class D felony, and once again in August of 2008,
      he entered a plea of guilty to attempted criminal possession of a
      narcotic drug in the 4th degree, a Class D felony. Once again, as
      part of that September 2008 sentencing, he was sentenced to a term
      of imprisonment with a term of supervised release thereafter. In
      October of 2009, while at the age of 21, the defendant was once
      again charged with criminal possession of a controlled substance, a
      narcotic drug, a Class B felony, as well as criminal possession of a

                                          4
   Case 1:09-cr-00331-RJA-HBS      Document 702     Filed 12/21/12   Page 5 of 30




      controlled substance in the 3rd degree, a narcotic drug, with intent to
      sell, a Class B felony. Those charges are the state charges that
      have also basically formed the charges in the present Indictment. I
      reference all of those charges and arrests and pleas because they all
      involve drug counts—drug counts that occurred while the defendant
      was already charged with a prior drug crime and on bail or while he
      was on parole which resulted in his parole being violated and his
      being re-arrested while on parole supervision. That criminal history,
      coupled with the presumption created by the Statute and my
      consideration of what has been proffered by the government as well
      as what has been proffered on behalf of the defendant cause me to
      conclude that the presumption has not been rebutted.

(Case No. 10-CR-189, Dkt. No. 12, at 3–5.)

      B.     Incorporation into the Present Case (09-CR-331)

      By late 2010, the Government decided that it had enough evidence linking

defendant’s conduct to its wider investigation of the 10th Street Gang that it

wanted to incorporate defendant’s case into the case against that gang. The

Government requested and received from Judge Arcara an order dismissing

Case No. 10-CR-189. (Id. Dkt. No. 13.) Just before that dismissal, on

September 15, 2010, the Government filed a Second Superseding Indictment in

this case (Dkt. No. 69) that contained four counts against defendant. In Count

One, the Government accused defendant of racketeering conspiracy in violation

of 18 U.S.C. § 1962(d). The Government further alleged the following overt acts

by defendant in furtherance of the conspiracy:

             1.    On or about January 24, 2008, defendants PEEBLES and H.
                   RODRIGUEZ, and unindicted co-conspirators possessed
                   approximately 17.52 grams of cocaine base, twenty-seven
                   (27) hydrocodone tablets weighing approximately 17.28

                                         5
   Case 1:09-cr-00331-RJA-HBS      Document 702     Filed 12/21/12   Page 6 of 30




                   grams, a quantity of marijuana, a digital scale, and $364 U.S.
                   currency at 185 Breckenridge Street, in the neighborhood
                   controlled by the 10 Street gang. (Dkt. No. 69 at 18.)

            2.     On or about February 20, 2008, defendant H. RODRIGUEZ
                   possessed 28 plastic corners containing approximately 3.43
                   grams of cocaine base at 185 Breckenridge Street, in the
                   neighborhood controlled by the 10 Street gang. (Id. at 19.)

            3.     On or about March 27, 2008, defendant H. RODRIGUEZ
                   possessed a plastic bag containing approximately 16.68
                   grams of cocaine base, a Hi Point Model JF 9mm Luger,
                   bearing serial number 501247, with nine (9) rounds of 9mm
                   ammunition at 185 Breckenridge Street, Buffalo, New York, in
                   the neighborhood controlled by the 10 Street gang. (Id. at 20.)

            4.     On or about April 22, 2008, defendant H. RODRIGUEZ
                   possessed approximately 12.52 grams of cocaine base, a
                   quantity of heroin, and a quantity of marijuana at 185
                   Breckenridge Street, in the neighborhood controlled by the 10
                   Street gang. (Id. at 21.)

            5.     On or about October 1, 2009, defendant H. RODRIGUEZ
                   possessed a quantity of cocaine base near the intersection of
                   Connecticut Street and Prospect Avenue, in the neighborhood
                   controlled by the 10 Street gang. (Id. at 25–26.)

            6.     On or about October 1, 2009, defendant H. RODRIGUEZ
                   possessed over one-half ounce of cocaine base and plastic
                   baggies at a house located at 303 Fargo Avenue, lower
                   apartment, in the neighborhood controlled by the 10 Street
                   gang. (Id. at 26.)

The Government also alleged, as a special factor for Count One, that defendant

“did knowingly, willfully, and unlawfully, combine, conspire, and agree together

and with others, known and unknown, to commit the following offenses, that is, to

possess with intent to distribute, and distribute, 50 grams or more of a mixture



                                         6
   Case 1:09-cr-00331-RJA-HBS      Document 702     Filed 12/21/12   Page 7 of 30




and substance containing cocaine base, and 5 kilograms or more of a mixture

and substance containing cocaine, Schedule II controlled substances, in

violation of Title 21, United States Code, Sections 846, 841(a)(1), and

841(b)(1)(A).” (Id. at 32–33.)

      In Count Two of the Second Superseding Indictment, the Government

charged defendant with racketeering in violation of 18 U.S.C. § 1962(c) and

attributed five acts of racketeering to him. In Count 35, the Government accused

defendant of drug possession with intent to distribute for the events of October 1,

2009. In Count 46, the Government accused defendant and others of drug

conspiracy. Defendant did not ask the Court to revisit his detention during the

pendency of the Second Superseding Indictment.

      On April 28, 2011, the Government filed a Third Superseding Indictment

against defendant and others. All of the previous charges against defendant

remained, in renumbered Counts 1, 2, 43, and 56, but the Government added a

charge (Count 57) of possession of firearms in furtherance of drug crimes in

violation of 18 U.S.C. §§ 924(c)(1) and 2. Defendant did ask the Court to revisit

his detention after the Third Superseding Indictment and filed a bail motion on

July 13, 2011. (Dkt. No. 251.) Following a detention hearing on July 6, 2011, this

Court denied the motion on the grounds that no circumstances had changed

since Magistrate Judge Schroeder’s order of August 26, 2010. (Dkt. No. 265.)

Defendant filed another bail motion on December 13, 2011. (Dkt. No. 371.) The

                                         7
   Case 1:09-cr-00331-RJA-HBS      Document 702      Filed 12/21/12   Page 8 of 30




Court held another bail review hearing on February 2, 2012 and ultimately denied

that bail motion on April 12, 2012. (Dkt. No. 488.) In denying the motion, the

Court noted again that circumstances had not changed, except that the charges

against defendant appeared to have intensified since Magistrate Judge

Schroeder’s original detention order. (Id. at 6.) As for the growing duration of

defendant’s detention, the Court noted the following at the time:

       At present, the Court has in place a new schedule that requires all
       defendants to file motions by July 16, 2012, that requires the
       Government to respond by August 30, 2012, and that sets oral
       argument for September 19, 2012. If this schedule changes in the
       months ahead for any reason attributable to the Government then
       the time may come to undertake a deeper due-process analysis and
       to require the Government to set forth a plan for a timely resolution of
       the case. The Court finds, however, that present circumstances do
       not warrant that analysis quite yet.

(Id. at 7–8.)

       Between the detention hearing and the denial of bail mentioned in the

previous paragraph, the Government filed a Fourth Superseding Indictment on

February 2, 2012. (Dkt. No. 408.) The Fourth Superseding Indictment did not

change the charges against defendant, though it added the following overt acts

with respect to Count One:

                7.   On or about May 22, 2006, the exact date being unknown to
                     the Grand Jury, after learning that rival drug dealers were
                     making a lot of money selling crack cocaine from 235 Hudson,
                     defendant H. RODRIGUEZ dressed in old and dirty clothes,
                     pretended to be a crack cocaine user, and went to the
                     residence located at 235 Hudson Street to purchase crack
                     cocaine from the rival drug dealers. After purchasing crack

                                          8
   Case 1:09-cr-00331-RJA-HBS     Document 702     Filed 12/21/12   Page 9 of 30




                   cocaine from the rival drug dealers, defendant H.
                   RODRIGUEZ returned to a 10 Street drug house located at
                   257 Whitney Place where he told defendants PEEBLES and
                   DELGADO, and others, that he did not see any guns in the
                   possession of the rival drug dealers located inside the house.
                   (Id. at 19.)

            8.     On or about May 22, 2006, the exact date being unknown to
                   the Grand Jury, after defendant H. RODRIGUEZ reported that
                   the rival drug dealers inside 235 Hudson Street did not have
                   any firearms, defendant DELGADO, who was armed with a
                   handgun, and two other armed 10 Street gang members went
                   to the location and shot at rival drug dealers using an AK-47
                   and a shotgun in order to force the rival drug dealers out of the
                   neighborhood controlled by the 10 Street gang. (Id. at 20.)

      The following table summarizes how the charges against defendant have

unfolded since the original alleged events of October 1, 2009:

 Proceeding                Date                Charges
 State Arrest              10/01/2009          Criminal Possession of a
                                               Controlled Substance with Intent
                                               to Sell; Criminal Use of Drug
                                               Paraphernalia with Packing
                                               Material
 Complaint (10-MJ-6)       03/05/2010          Possession with Intent to
                                               Distribute 5g or More of Cocaine
                                               Base (21 U.S.C. § 841(a));
                                               Conspiracy to Violate Section
                                               841(a) (21 U.S.C. § 846)
 Indictment (10-CR-189)    06/29/2010          Possession with Intent to
                                               Distribute 5g or More of Cocaine
                                               Base (21 U.S.C. §§ 841(a)(1) and
                                               841(b)(1)(B)); Conspiracy to
                                               Violate Sections 841(a)(1) and
                                               841(b)(1)(B) (21 U.S.C. § 846)



                                         9
  Case 1:09-cr-00331-RJA-HBS       Document 702     Filed 12/21/12   Page 10 of 30




 Second Superseding         09/15/2010          Racketeering Conspiracy (18
 Indictment (09-CR-331)                         U.S.C. § 1962(d)); Racketeering
                                                (18 U.S.C. § 1962(c));
                                                Possession with Intent to
                                                Distribute Cocaine Base (21
                                                U.S.C. §§ 841(a)(1) and
                                                841(b)(1)(C)); Drug Conspiracy
                                                (21 U.S.C. § 846)
 Third Superseding          04/28/2011          Previous charges plus
 Indictment (09-CR-331)                         Possession of Firearms in
                                                Furtherance of Drug Crimes in
                                                violation of 18 U.S.C.
                                                §§ 924(c)(1) and 2
 Fourth Superseding         02/02/2012          No changes from previous
 Indictment (09-CR-331)                         indictment; two additional overt
                                                acts for Count One


      C.     Discovery and Course of This Case

      The Government’s decisions to transfer defendant’s charges from the prior

indicted case into this one, and then to supersede the indictment twice after

defendant’s addition, required changes to the pretrial schedule. Requests for

extensions by defendant and others also required changes. After defendant

entered this case through the Second Superseding Indictment and executed a

waiver of conflict of interest regarding attorney representation (Dkt. No. 97), the

Court held a hearing on January 18, 2011 to address requests for extensions of

time to file pretrial motions. Defendant joined in the request of other defendants.

(Dkt. No. 164.) At the hearing, the Court set a new motion deadline of April 19,

2011, a new response deadline of June 20, 2011, and a new oral argument date


                                         10
  Case 1:09-cr-00331-RJA-HBS       Document 702      Filed 12/21/12   Page 11 of 30




of June 22, 2011. On the day of the motion deadline, defendant filed a motion

joining others in seeking more time to file motions “[d]ue to the voluminous

amount of discovery that has been provided by the government.” (Dkt. No. 214 at

2.) The Court issued an amended scheduling order that set a new motion

deadline of May 31, 2011, a new response deadline of June 17, 2011, and a new

oral argument date of June 23, 2011. (Dkt. No. 224.) The Third Superseding

Indictment required yet another modified schedule; the Court set one on May 24,

2011, with motions due by September 20, 2011. On September 20, 2011,

defendants requested more time to file pretrial motions “[d]ue to [the] ongoing

discovery process.” (Dkt. No. 313 at 2.) On October 13, 2011, the Court issued

an amended scheduling order that reset the motion deadline for November 10,

2011 and the response deadline for December 2, 2011. (Dkt. No. 338.)

Defendant did file omnibus pretrial motions on November 10, 2011, including a

request for severance. (Dkt. No. 359.)

      After that time, the scheduling of pretrial motions changed a few more

times, to reflect two Government requests for extensions, requests for extensions

from other defendants, and a new round of scheduling and defense extensions

prompted by the Fourth Superseding Indictment. The final round of defense

extensions concerned the Court’s directive that, for the sake of clarity, all

defendants needed to re-file their motions in response to the Fourth Superseding

Indictment. Defendant filed renewed pretrial motions on August 17, 2012 (Dkt.

                                          11
  Case 1:09-cr-00331-RJA-HBS      Document 702      Filed 12/21/12   Page 12 of 30




No. 549) and a supplemental motion on November 16, 2012 (Dkt. No. 665). Oral

argument on all defense pretrial motions occurred on December 5, 2012; the

Court identified issues requiring hearings on December 14, 2012 (Dkt. No. 691);

and those hearings will begin on February 5, 2013.

      As for the substance of pretrial discovery, one issue that has prompted

argument in the pending bail motion is the disclosure of search warrant materials

pertaining to the investigation of defendant. Defendant’s original pretrial motions

of November 10, 2011 included requests for “copies of all search and/or arrest

warrants, together with all supporting affidavits and any other documents in

support of any warrant that resulted in the arrest of the defendant or the seizure

of any property in this case” (Dkt. No. 359 at 20) and “[a]n itemized description of

any property recovered or seized during the investigation of the charges, the

person or place from which the property was taken, the person effecting such

seizure or receiving the property, the date or dates the property was seized or

recovered, and whether such seizure was pursuant to a warrant” (id. at 21). The

Government responded that “the United States has provided, or made available,

comprehensive voluntary discovery, including but not limited to: surveillance

reports, search warrant photos, search warrant application/affidavits and

corresponding search warrants” among voluminous other materials. (Dkt. No.

406 at 28–29 (emphasis added).) At that time, defendant made no comment

about the assertion that the Government provided search warrants and their

                                         12
  Case 1:09-cr-00331-RJA-HBS       Document 702     Filed 12/21/12   Page 13 of 30




corresponding applications and affidavits. Only when, at Court direction,

defendant filed renewed pretrial motions did he issue the following challenge to

the Government:

      Conspicuously absent from the discovery are copies of the search
      warrants. The defendant previously requested copies of search
      warrants through discovery on the Third Superseding Indictment on
      November 10, 2011. At this point in time, the defendant is left to
      speculate as to whether or not these search warrants exist. Because
      of the Government’s failure to comply with this Court’s order to
      disclose all evidence and the fact that no search warrants have been
      disclosed, the defendant is requesting that the Court preclude the
      Government from introducing any physical evidence against him, on
      the grounds that the Government has failed to comply with the
      Court’s discovery order. It is patently unfair for the defendant to
      remain in custody while the government attempts to play games with
      the discovery. It is even a bigger waste of time for the attorneys on
      this case, since we are left to speculate about the existence of
      documents.

(Dkt. No. 549 at 11.)

      Having asserted previously that it provided search warrants and

applications, the Government responded to defendant’s renewed pretrial motions

with ambiguity about any applicable search warrants. The Government

simultaneously maintained its prior position and contradicted it by asserting that it

“has, and fully intends to comply with its discovery obligations pursuant to Federal

Rule of Criminal Procedure 16, the Jencks Act, and Brady. Every effort will be

made by the government and its agents to locate the requested search warrants.”

(Dkt. No. 584 at 21.) The Government then raised alternative arguments that

defendant failed to identify particular statements that would create factual

                                         13
  Case 1:09-cr-00331-RJA-HBS        Document 702     Filed 12/21/12   Page 14 of 30




disputes about any searches in question, and that defendant failed to establish

that he had standing to challenge any searches in question. Defendant

responded to the standing issue through his supplemental motion of November

16, 2012. On November 30, 2012, the Government produced the search

warrants themselves; whether it also produced the underlying materials is not

clear.

         D.    Pending Bail Motion

         With the duration of pretrial detention growing and with the issue about

search warrant production heating up, defendant filed the pending bail motion on

November 20, 2012. In support of the motion, defendant emphasizes the issue of

search warrants heavily and contends that the Government’s delay in producing

the search warrants means that it did not comply with Court orders governing

discovery. If the Government did not comply with discovery, according to

defendant, then it bears significant responsibility for the length of his detention.

Defendant argued further at oral argument that the Government’s discovery

failure has three important consequences. First, the Government cannot be

ready for trial as it claimed during the December 5, 2012 oral argument, since its

late discovery may prompt more motion practice. Further motion practice could

mean indefinite continued detention for defendant. Second, the issue of search

warrants has Brady implications, because the search warrants produced (one of

which was marked at oral argument as Defendant Exhibit 1) do not mention

                                           14
   Case 1:09-cr-00331-RJA-HBS       Document 702     Filed 12/21/12   Page 15 of 30




defendant’s name and contain a physical description not resembling defendant.

Third, the issue of search warrants implicates effective assistance of counsel

because defense counsel cannot even give his client meaningful advice about

pretrial strategy and possible pretrial resolution without exploring the issue of

search warrants further. Defendant also asserts that he has lifelong ties to this

District and that he could live with his fiancee if released.

       In opposition to the pending motion, the Government reiterates defendant’s

criminal history and the nature of the charges against him. The Government

downplays the issue of search warrants by arguing that the results of the

searches in question have been known to defendant for a considerable period of

time, meaning that he cannot claim an inability to have litigated those searches

earlier. The Government also argues that the search warrants in question did not

need to make any reference to defendant because the places in question were

“flophouses” and because defendant made no assertion of standing to challenge

the searches until his supplemental motion of November 16, 2012.

III.   DISCUSSION

       A.    Reconsideration of Bail Generally

       Putting aside the issue of duration of detention, which receives separate

treatment below, the Court will begin assessing the pending motion by

addressing whether any other circumstances in the case have changed since the

last order of detention. Once the Court has issued a detention order, it may

                                          15
  Case 1:09-cr-00331-RJA-HBS      Document 702      Filed 12/21/12   Page 16 of 30




reconsider that order and reopen the detention hearing “at any time before trial if

the judicial officer finds that information exists that was not known to the movant

at the time of the hearing and that has a material bearing on the issue whether

there are conditions of release that will reasonably assure the appearance of

such person as required and the safety of any other person and the community.”

18 U.S.C. § 3142(f)(2). “New and material information for Section 3142(f)(2)(B)

purposes consists of something other than a defendant’s own evaluation of his

character or the strength of the case against him: truly changed circumstances,

something unexpected, or a significant event.” U.S. v. Jerdine, No. 1:08 CR

00481, 2009 WL 4906564, at *3 (N.D. Ohio Dec. 18, 2009) (citation omitted).

Where evidence was available to defendant at the time of the hearing, the

hearing will not be reopened. See U.S. v. Dillon, 938 F.2d 1412, 1415 (1st Cir.

1991); U.S. v. Hare, 873 F.2d 796, 799 (5th Cir. 1989).

      Here, only a few circumstances have changed since the last order of

detention, and the changes do not help defendant. The last order of detention

(Dkt. No. 488) addressed a bail motion that was filed and heard just before the

filing of the Fourth Superseding Indictment. The Fourth Superseding Indictment

added two more overt acts to the already serious allegations against defendant.

To the extent that he had not received it already, defendant in recent months also

received voluminous discovery copied and distributed with the help of the Court’s

Information Technology staff. The Court will infer that any discovery produced

                                         16
  Case 1:09-cr-00331-RJA-HBS        Document 702     Filed 12/21/12    Page 17 of 30




after the Fourth Superseding Indictment was no better than neutral toward

defendant, since defendant has made no argument in the pending motion about

any of that evidence changing the strength of the case against him. As for the

issue of search warrants, the Court is somewhat troubled that the Government

stated explicitly on January 28, 2012 that it had provided both search warrants

and underlying application materials, when it obviously had not done so. Any

delay caused by this misstatement would have had little impact up to now

because it overlapped with a more general delay that the Government caused by

superseding indictments so many times and by attempting to bring so many

defendants to trial in a single case. The Court will discuss that more general

delay below. Going forward, however, any delay in producing any additional

search warrant materials will mean additional motion practice, which may slow

down the case in the coming months. To limit any future delay as much as

possible, the Government is directed to produce any remaining search warrant

materials, including applications and affidavits, by December 31, 2012.1

      Overall, then, the substantive factors that prompted defendant’s detention

in the first place persist and still weigh in favor of detention. Defendant has a

significant criminal history that includes a history of supervision violations.

Defendant currently is facing serious allegations that have grown more detailed

with each superseding indictment. As the Court noted in its prior order of

      1
       The Court is not staying this directive, in contrast to the order of release.

                                          17
  Case 1:09-cr-00331-RJA-HBS       Document 702     Filed 12/21/12    Page 18 of 30




detention, those factors and all the factors mentioned in the prior order outweigh

any factors such as family ties that might tilt toward pretrial release. For the

reasons noted above and in the Court’s prior order of detention, the Court finds a

substantive basis for defendant’s continued pretrial detention.

      B.     Analysis of Due Process

      The Court now comes to the most agonizing part of defendant's bail

motion, the oncoming collision between a solid substantive basis for defendant's

pretrial detention and defendant's right to due process to avoid indefinite

detention. “Every so often, a district court is presented with a problem that is

virtually insoluble. This is one of those cases.” U.S. v. Ojeda Rios, 846 F.2d 167,

168 (2d Cir. 1988). Simply put, even though substantive grounds exist for

detention, has defendant's detention grown so long that his due-process rights

override those substantive grounds? Cf. id. at 168–69 (“Judge Clarie has been

understandably reluctant to release Ojeda Rios from pretrial confinement given

allegations of appellant’s past pattern of violent acts and disregard of his

obligations under United States laws. At the same time, Judge Clarie has been

faced with continuous delays in getting appellant’s and his co-defendants’ case to

trial, largely because of the zealous, perhaps overly zealous, pretrial demands of

the defendants. On the other hand, the government has been reluctant to agree

to a severance.”).




                                         18
  Case 1:09-cr-00331-RJA-HBS        Document 702       Filed 12/21/12    Page 19 of 30




      Answering the question of due process requires careful consideration of

constitutional and Second Circuit criteria. “The government may detain a

defendant prior to trial consistent with the Due Process Clause of the Fifth

Amendment so long as confinement does not amount to punishment of the

detainee. Absent an expressed intention to punish, whether detention constitutes

impermissible punishment or permissible regulation turns on whether the

government has a nonpunitive reason for detention and whether detention

appears excessive in relation to the nonpunitive purpose. Pretrial detention of a

defendant, when of reasonable duration, serves important regulatory purposes,

including the prevention of flight and the protection of the community from a

potentially dangerous individual. However, when detention becomes excessively

prolonged, it may no longer be reasonable in relation to the regulatory goals of

detention, in which event a violation of due process occurs.” U.S. v. Millan, 4

F.3d 1038, 1043 (2d Cir. 1993) (internal quotation marks and citations omitted).

“To determine whether the length of pretrial detention has become constitutionally

excessive, we must weigh three factors: (i) the length of detention; (ii) the extent

of the prosecution’s responsibility for the delay of the trial; and (iii) the strength of

the evidence upon which the detention was based, that is, the evidence

concerning risk of flight and danger to the safety of any other person or the

community.” Id. at 1043 (internal quotation marks and citations omitted). The

Court will address each of these factors in turn.

                                           19
  Case 1:09-cr-00331-RJA-HBS        Document 702      Filed 12/21/12   Page 20 of 30




             1.     Length of Detention

      The first factor affecting a possible due-process violation is the total length

of defendant’s pretrial detention, regardless of any breakdown of responsibility

that occurs later in the analysis. See U.S. v. Gonzales Claudio, 806 F.2d 334,

340 (2d Cir. 1986) (beginning due-process analysis by “[f]ocusing first on the

duration of confinement” and acknowledging “the total time the defendants have

been in pretrial detention”). Courts that measure total pretrial detention count

actual detention plus likely prospective future detention; they ignore possible

future detention that is only speculative. See id. (assessing future scheduling that

is “without speculation”); see also Millan, 4 F.3d at 1044 (“In weighing potential

future detention, however, we take into account non-speculative aspects of future

confinement.”) (internal quotation marks and citations omitted). “While the length

of pretrial detention is a factor in determining whether due process has been

violated, the length of detention alone is not dispositive and will rarely by itself

offend due process.” U.S. v. El-Hage, 213 F.3d 74, 79 (2d Cir. 2000) (internal

quotation marks and citations omitted).

      Here, the total length of defendant’s pretrial detention overwhelmingly

supports a finding of a due process violation because it has no precedent in

Second Circuit case law. Counting only time that defendant has spent in actual

federal custody, defendant has been in federal custody since March 2010. That

would mean 33 months as of this writing. Adding the few months that he spent in

                                          20
  Case 1:09-cr-00331-RJA-HBS        Document 702      Filed 12/21/12   Page 21 of 30




state custody on charges that he still is facing for the events of October 1, 2009,

defendant has been in custody for currently pending charges for 38 months as of

this writing. Given last week’s Order regarding remaining discovery issues and

the potential pending issue of search warrant materials, discovery still is not

complete. Evidentiary hearings will not occur until February. Factoring in time

that the parties will need to file the transcript from the hearings and to file

post-hearing submissions, a Report and Recommendation on all of the pending

pretrial motions almost certainly will not be possible before mid-summer 2013 at

the earliest. Especially given the large number of motions and issues that the

Court needs to address, the parties almost certainly will file at least some

objections to some of this Court’s findings to Judge Arcara. The process of

addressing objections likely will take two or three months at a minimum, after

which Judge Arcara likely will have to evaluate how long a single trial would last

and whether separate, smaller trials would be more appropriate. See U.S. v.

Casamento, 887 F.2d 1141, 1152 (2d Cir. 1989) (“In those cases where the judge

determines that the time for presentation of the prosecution’s case will exceed

four months, the judge should oblige the prosecutor to present a reasoned basis

to support a conclusion that a joint trial of all the defendants is more consistent

with the fair administration of justice than some manageable division of the case

into separate trials for groups of defendants.”). Defendants going to trial likely will

need a few months to file trial papers. In total, a trial in this case almost certainly

                                           21
  Case 1:09-cr-00331-RJA-HBS       Document 702      Filed 12/21/12   Page 22 of 30




will not occur in 2013, which means that defendant will have spent a grand total

of at least 50 months in some sort of pretrial custody for charges that originated

at some level in October 2009 and are still pending against him.

      Although the Second Circuit has repeated in past cases that total length of

pretrial detention rarely by itself offends due process, any case from the Second

Circuit that repeated that principle featured a length of detention significantly

shorter than what has occurred here. The following chart summarizes the nature

of the charges and the length of pretrial detention for the most frequently cited

and the most recent Second Circuit cases that address due process violations:

 Case                 Charges                  Length of           Final Result of
                                               Detention           Motion
 Gonzales           Bank robbery plus          26 months (14       Granted
 Claudio, 806 F.2d unspecified other           plus trial set 4
 334 (2d Cir. 1986) charges; 2                 months out to
                    indictments                last 8 months)
 Ojeda Rios, 846      Bank robbery plus        32 months; trial    Granted;
 F.2d 167 (2d Cir.    unspecified other        at least a year     defendant
 1988)                charges; 2               away and “will      ordered released
                      indictments              take many           within one week
                                               months to try”
 Orena, 986 F.2d    Racketeering; 2            9 months; trial     Denied
 628 (2d Cir. 1993) indictments                under way at
                                               time of decision
 Millan, 4 F.3d       Continuing Criminal      31 months,          Denied
 1038 (2d Cir.        Enterprise:              including
 1993)                conspiracy to            mistrial and
                      distribute heroin; 1     new trial set for
                      indictment               6 months later



                                          22
  Case 1:09-cr-00331-RJA-HBS       Document 702     Filed 12/21/12   Page 23 of 30




 El-Gabrowny, 35       Conspiracy to levy       27 months (18    Denied with
 F.3d 63 (2d Cir.      against U.S.;            plus trial one   leave to renew
 1994)                 bombing conspiracy;      month out plus   motion in district
                       use and carrying of      8 months for     court if trial
                       destructive devices      the trial)       “substantially
                       for crimes of                             delayed”
                       violence; 2
                       indictments
 El-Hage, 213          Conspiracies to kill     30-33 months     Denied;
 F.3d 74 (2d Cir.      U.S. citizens and to     (24 plus 6-9     “unprecedented
 2000)                 destroy U.S. property    months for the   scope of
                       abroad; perjury; false   trial itself)    violence” noted
                       statements; 1
                       indictment
 Hill, 462 Fed.        Substantive and          26 months        Denied with
 App’x 125 (2d Cir.    conspiratorial drug                       leave to renew
 Feb. 21, 2012)        crimes; firearms                          appeal if no trial
                       offenses; 2                               or bail by July 1,
                       indictments                               2012
 Briggs, 697 F.3d      Conspiratorial drug      26 months        Denied with
 98 (2d Cir. Oct. 9,   crimes; 4 indictments                     leave to renew
 2012)                                                           appeal if no trial
                                                                 or bail by
                                                                 Feburary 1, 2013

      The above chart highlights two serious problems with the total length of

defendant’s pretrial detention. First, the Second Circuit never has assessed, let

alone authorized, a total pretrial detention of 50 months or more under any

circumstances. Second, while the Second Circuit has stressed repeatedly that

due-process analysis follows no bright-line rules, the longest periods of detention

that the Second Circuit has ever authorized involved a Continuing Criminal

Enterprise or an “unprecedented scope of violence” related to international

terrorism—more serious charges than defendant is facing here. In making that


                                         23
  Case 1:09-cr-00331-RJA-HBS      Document 702      Filed 12/21/12   Page 24 of 30




observation, this Court certainly does not want to downplay the seriousness of

the charges against defendant. The Court stressed earlier in this decision that

defendant is facing serious charges of drug possession and distribution along

with racketeering and racketeering conspiracy, with overt acts that suggest that

defendant at least facilitated an attack on a rival gang member on May 22, 2006.

That said, however, prior instances when the Second Circuit authorized detention

extending beyond 30 months involved very high levels of dangerous criminal

activity. Some of the defendants in this case may well have allegations against

them that rise to that level, but this defendant simply does not. The most recent

cases addressing lengthy pretrial detention set a deadline by which bail or a trial

had to occur to avoid more serious appellate scrutiny. The first factor thus

weighs heavily in defendant’s favor and tends to make this case the “rare”

instance when the total length of pretrial detention by itself offends due process.

             2.    Responsibility for Delay

      Next, the Court will consider the extent to which the Government is

responsible for the years that defendant has spent in pretrial detention. When

looking for “responsibility,” courts will consider any conduct intended to cause

delay. Courts also will charge to defendants time lost to motion practice that

could have proceeded in a more efficient or practical way. Cf. Gonzales Claudio,

806 F.2d at 341 (“[T]here is some basis for believing that defense counsel could

have proceeded more expeditiously by taking a less fragmented approach to

pretrial maneuvering.”). In between, though, lies a range of case-management

                                         24
  Case 1:09-cr-00331-RJA-HBS        Document 702     Filed 12/21/12    Page 25 of 30




decisions by the Government that warrant at least some of the respect afforded to

prosecutorial discretion. See U.S. v. Orena, 986 F.2d 628, 631 (2d Cir. 1993)

(“[W]e decline to adopt a rule that would deter the government from seeking joint

trials (or consenting to severance) as a means of economizing judicial and other

resources.”). Courts generally avoid micromanaging cases, but respect for

prosecutorial discretion does not mean that the Government always should

receive complete absolution for decisions whose impact on pretrial detention is

foreseeable.

      Here, both sides have made decisions over the course of this litigation that

have prolonged defendant’s pretrial detention and have neutralized this factor in

the due process analysis. Defendant asked for three extensions of time to file

motions, directly or by joining the extension requests of other defendants.

Defendant made a challenge about search warrant materials just recently. While

not a major concern, the Court has a little concern about whether defendant could

have identified any defects in discovery production in more consolidated fashion.

Cf. Gonzales Claudio, 806 F.2d at 341 (“We recognize that defendants cannot

litigate pretrial matters to the ultimate degree and then rely on the extra time

attributable to their motion practice to claim that the duration of pretrial detention

violates due process. On the other hand, even normal defense pretrial activity

would be time-consuming in a case involving so many defendants and so large a

quantity of wiretapped and seized evidence.”). The Court adjusted the pretrial

schedule several times to accommodate defendant’s requests. Defendant did not

                                          25
  Case 1:09-cr-00331-RJA-HBS      Document 702     Filed 12/21/12   Page 26 of 30




request severance until November 10, 2011 and has not pushed for resolution of

that request; in fact, the pending bail motion does not request severance as an

alternative remedy. At the same time, though, the Court notes that defendant

effectively was severed by way of a separate criminal case (Case No. 10-CR-

189), and that the Government reversed that severance by incorporating

defendant into the Second Superseding Indictment and all subsequent

indictments.

      The Government also made other important case-management decisions

along the way. From the very beginning of defendant’s original charges in

October 2009, the Government made the initial decision to prosecute defendant

federally and to arrange for dismissal of his state charges. The Government then

chose to prosecute defendant individually on charges that still form the bulk of his

alleged criminal conduct; defendant would have received a trial and a sentence

long ago if the Government had stayed with that decision. Instead, the

Government chose to layer this case with four superseding indictments, which

added a little substance to defendant’s alleged conduct but served the primary

purpose of simply adding more defendants to the alleged racketeering conspiracy

as more information became available. Even though this case was filed in 2009,

the Government chose to add the last six defendants as recently as February

2012. If the original defendants in the case were still requesting discovery three

years later, then the Government had to have known that adding six fresh

defendants to such a complex case would require the Court and the parties to

                                        26
  Case 1:09-cr-00331-RJA-HBS       Document 702        Filed 12/21/12   Page 27 of 30




start over with discovery for those new defendants and for all defendants with

respect to the new ones. Cf. U.S. v. Briggs, 697 F.3d 98, 103 (2d Cir. Oct. 9,

2012) (“The realities of limited resources and the interests of efficiency may lead

us to uphold exercises of prosecutorial discretion, but they do not suffice to

excuse failures of prosecutorial diligence. When the government decides to

prosecute a case of considerable complexity and scope, it must still pursue that

case with promptness and energy. Due process does not slumber because cases

are complex.”). In fact, given last week’s Order, discovery still is not completely

finished. Cf. Gonzales Claudio, 806 F.2d at 342 (“[W]e note that the process of

producing materials discoverable under Rule 16 has not yet been completed,

even now, more than fourteen months after detention began.”).

      In reciting the Government’s case-management decisions and their

foreseeable consequences, the Court emphasizes that it has no desire to

supervise the trial strategies or policy decisions of the United States Attorney’s

Office. Nonetheless, the Government has made choices throughout the duration

of this case, and choices matter. Cf. Gonzales Claudio, 806 F.2d at 342–43 (“It

suffices for present purposes to conclude that the Government, even if not

deserving of blame, bears a responsibility for a portion of the delay significant

enough to add considerable weight to the defendants’ claim that the duration of

detention has exceeded constitutional limits.”) (citation omitted). Under these

circumstances, then, the Court finds that the second factor in the due process

analysis is neutral and does not favor either party.

                                         27
  Case 1:09-cr-00331-RJA-HBS      Document 702     Filed 12/21/12   Page 28 of 30




            3.     Strength of the Proof

      As noted above and without infringing on the presumption of innocence,

the final factor in the due-process analysis requires the Court to consider the

strength of the Government’s evidence that defendant poses a risk of flight, a

danger to the community, or both. The details of the Court’s analysis appear

earlier in this Decision and Order. In short, defendant continues to face serious

drug, firearm, and racketeering / racketeering-conspiracy charges that, apart from

this due process analysis, would trigger a statutory presumption in favor of

detention. The evidence that the Government would present at trial appears to

be strong and has strengthened over the course of the case, as additional overt

acts became known. Defendant has a lengthy criminal history that includes a

history of violating conditions of state parole. Ample reasons thus exist to believe

that defendant has a strong motive to flee and would pose a danger to the

community despite lifelong ties to the Western New York area. This final factor in

the due process analysis thus favors the Government.

      In the end, then, a review of the due-process factors shows one factor in

favor of the Government, one factor that is neutral, and one that is so

overwhelmingly in favor of the defendant that it is without precedent in Second

Circuit case law. This analysis leaves the Court with a difficult decision to make.

The Court is reluctant to release defendant given the charges and his criminal

history, and in fact has not done so up to this point. Cf. Orena, 986 F.2d at 633

(“We find nothing in the Bail Reform Act that requires the government to staff

                                         28
  Case 1:09-cr-00331-RJA-HBS       Document 702      Filed 12/21/12   Page 29 of 30




home detention centers or allow dangerous defendants to be at large based upon

their promise not to violate conditions of bail.”). The Court also is aware that

even the most stringent bail conditions will leave the community at some possible

risk. “But the enforcement of all constitutional restraints upon government in its

efforts to administer the criminal law entails risks.” Gonzales Claudio, 806 F.2d at

343. With discovery still occurring and this case at least a year away from being

ready for trial, further indefinite detention would cease to serve a regulatory

purpose and would become punitive in nature. Under these circumstances, and

given this defendant’s role in the alleged conspiracy, the Court reluctantly finds

that the Government has reached the outer limits of due process for this

defendant and orders defendant’s release as detailed below.

      C.     Bail Conditions

      Although the Court is ordering defendant’s release, it still wants to take

whatever measures it can to minimize the risk of flight and to maximize the safety

of the community. Accordingly, and subject to further review as described below,

the United States Probation Office (“USPO”) is directed to provide the Court a full

list of bail conditions that it would consider appropriate given this order of release.

At a minimum, conditions of release must include 1) a $100,000 bond secured by

$20,000 cash and co-signed by two sureties of defendant’s choice who are

currently employed and have no criminal history; 2) home confinement with

electronic monitoring at defendant’s fiancee’s residence; 3) no contact

whatsoever with any co-defendants, alleged co-conspirators, alleged victims, or

                                          29
  Case 1:09-cr-00331-RJA-HBS      Document 702      Filed 12/21/12   Page 30 of 30




any of their family and friends; 4) daily contact with the USPO and consent to

drug testing on any schedule that the USPO deems appropriate; 5) consent to a

search of the residence at any time; and 6) zero tolerance for any violation of

these conditions or other conditions that the USPO may recommend.

      D.     Stay of Release

      Under 18 U.S.C. § 3145, the Government has the right to seek review of

this Decision and Order from Judge Arcara. This Court anticipates that the

Government will seek such review, if only to elaborate further on why this case

might be so unusual that an extraordinary length of detention might be justified.

Accordingly, the Court stays its order of release for 30 days pending the initiation

of further proceedings before Judge Arcara.

IV.   CONCLUSION

      For all of the foregoing reasons, the Court grants defendant’s motion (Dkt.

No. 671) but stays defendant’s release for 30 days pending anticipated further

proceedings before Judge Arcara.

      SO ORDERED.
                                       __Bá [âz{ UA fvÉàà________
                                       HONORABLE HUGH B. SCOTT
                                       UNITED STATES MAGISTRATE JUDGE

DATED: December 21, 2012




                                         30
